          Case 2:18-cr-00322-PD Document 51 Filed 01/04/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,                      :
                                               :
          v.                                   :      Crim. No. 18-322
                                               :
GEORGE MATIN                                   :

                                         ORDER
       I have previously noted Defendant’s highly dubious representations regarding his health

and the purported need to continue these proceedings. (Doc. No. 11.) Nonetheless, upon

consideration of the Government’s Statement in Support of Defendants’ Requests for Continuance

of Self-Surrender Date (Doc. No. 50), it is hereby ORDERED that Defendant’s Motion to

Continue Report Date (Doc. No. 45) is GRANTED. Defendant’s self-surrender date shall be

March 8, 2021.

                                                         AND IT IS SO ORDERED.
                                                         /s/ Paul S. Diamond
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                                                         Paul S. Diamond, J.
